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                                      #:260


  1
                              UNITED STATES DISTRICT COURT
  2
                            CENTRAL DISTRICT OF CALIFORNIA
  3
                                       WESTERN DIVISION
  4
       DAWAUN LUCAS, individually and                Case No. 2:20-cv-06059-VAP-E
  5    on behalf of all others similarly situated,
  6                                                  [PROPOSED] ORDER GRANTING
                                     Plaintiff,      MOTION TO COMPEL
  7                                                  ARBITRATION AND STAY
             v.
  8
       SMILEDIRECTCLUB, INC. and                     Hearing Date: October 19, 2020
  9    SMILEDIRECTCLUB, LLC,
                                                     Time: 2:00 pm
 10                              Defendants.
                                                     Location: Courtroom No. 8A,
 11
                                                     First Street Courthouse
 12
 13
 14         The motion of Defendants SmileDirectClub, Inc. and SmileDirectClub, LLC
 15 to compel arbitration of Plaintiffs’ individual claims and stay this action came before
 16 this Court for regular hearing on October 19, 2020, in the Courtroom of the
 17 Honorable Virginia A. Phillips of the United States District Court for the Central
 18 District of California, Courtroom 8A located at 350 West 1st Street, Los Angeles,
 19 California 90012 at 2:00 p.m.
 20         Having considered all papers submitted by the Parties, the pleadings, the
 21 evidence submitted and oral arguments presented, and good cause appearing, IT IS
 22 ORDERED THAT Defendants’ motion is GRANTED. Plaintiffs must arbitrate
 23 their individual claims against Defendants on an individual basis. This action is
 24 stayed pending Plaintiffs’ respective arbitrations.
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                                         [PROPOSED] ORDER
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                                   #:261


  1
  2 DATED:______________                       By: _______________________
  3                                                VIRGINIA A. PHILLIPS

  4                                                 U.S. DISTRICT JUDGE

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                                    [PROPOSED] ORDER
